             Case 21-31121-mvl11 Doc 1 Filed 06/17/21                                                                 Entered 06/17/21 07:11:18                                         Page 1 of 22

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                                  LIST OF FILING ENTITIES

               Debtor               Relationship         District              Date

         GVS Portfolio I, LLC          Parent        Northern District     06/1/2021
                                                         of Texas

    GVS Texas Holdings I,, LLC       Subsidiary      Northern District     06/1/2021
                                                         of Texas

       GVS Portfolio I B, LLC          3DUHQW        Northern District     06/1/2021
                                                         of Texas

       WC Mississippi Storage        Subsidiary      Northern District     06/1/2021
         Portfolio I, LLC                                of Texas

   GVS Nevada Holdings I, LLC        Subsidiary      Northern District     06/1/2021
                                                        of Texas

    GVS Ohio Holdings I, LLC         Subsidiary      Northern District     06/1/2021
                                                         of Texas

  GVS Missouri Holdings I, LLC       Subsidiary      Northern District     06/1/2021
                                                         of Texas

    GVS New York Holdings I,         Subsidiary      Northern District     06/1/2021
            LLC                                          of Texas

   GVS Indiana Holdings I, LLC       Subsidiary      Northern District     06/1/2021
                                                         of Texas

    GVS Tennessee Holdings I,        Subsidiary      Northern District     06/1/2021
             LLC                                         of Texas

    GVS Ohio Holdings II, LLC        Subsidiary      Northern District     06/1/2021
                                                         of Texas

   GVS Illinois Holdings I, LLC      Subsidiary      Northern District     06/1/2021
                                                         of Texas

 GVS Colorado Holdings I, LLC        Subsidiary      Northern District     06/1/2021
                                                        of Texas




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                              LIST OF REAL PROPERTY


GVS Texas Holdings I, LLC: Location of Principal Assets, if different from principal place
of business:
   x   13825 FM 306, Canyon Lake TX 78133
   x   16905 Indian Chief Drive, Cedar Park, TX 78613
   x   7116 S IH 35 Frontage Rd, Austin, TX 78745
   x   2407 S 183, Austin, TX 78744
   x   1151 E (xpressway 83 San Benito TX 78586
   x   613 North Fwy, Houston, Texas 77090
   x   3412 Garth Rd Baytown, Texas 77521
   x   11702 Beechnut Street Houston Texas 77072
   x   10601 West Fairmont Parkway, La Porte, Texas 77571
   x   4806 Marie Lane, Deer Park, TX 77536
   x   8320 Alabonson Rd, Houston, TX 77088
   x   5811 North Houston Rosslyn Road, Houston, TX 77091
   x   632 Timkin Road, Tomball, TX 77375
   x   16530 W. Hardy St, Houston, TX 77060
   x   4641 Production Drive, Dallas, TX 75235
   x   2502 Bay Street, Texas City, TX 77590
   x   1910 25th Ave N, Texas City, TX 77590
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                                                                      EXECUTION VERSION


                            UNANIMOUS WRITTEN CONSENT
                                        OF
                                APPROVING PARTIES
                                        OF
                             GVS TEXAS HOLDINGS I, LLC


                                         June 16, 2021

        THE UNDERSIGNED, being (1) certain of the members of the Board of Directors
(the “Board”) of GVS Texas Holdings I, LLC, a Delaware limited liability company (the
“Company”), and (2) the sole member of the Company (the “Member,” and together with the
Board, the “Approving Parties”) acting in lieu of a meeting by written consent pursuant to the
Delaware Limited Liability Company Act, and in accordance with Sections 5(b) and 9(d) of the
Amended and Restated Limited Liability Company Agreement, hereby waive all notice of the
time, place, and purpose of a meeting and consent to, approve, and adopt the recitals and
resolutions set forth in Exhibit A hereto and each and every action effected thereby with the same
force and effect as if they had been adopted at a duly convened meeting. Any signature page
delivered via electronic mail shall be binding to the same extent as an original signature page.

                                   [Signature Page Follows]
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       IN WITNESS WHEREOF, the undersigned, being certain of the members of the Board,
hereby consent to the foregoing resolutions effective as of the date first written above.




                                                  By: ________________________________
                                                       ________________
                                                  Name:
                                                     me: Natin Paul
                                                  Title: Director




                                                  By: ________________________________
                                                       ________________
                                                  Name:
                                                     me: Natin Paul
                                                  Title: Director




                        [Signature Page for Board to Written Consent]
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       IN WITNESS WHEREOF, the undersigned, being certain of the members of the Board,
hereby consent to the foregoing resolutions effective as of the date first written above.




                                                  By: ___________________________
                                                       ________________________________
                                                  Name:e: 5obHUW' Albergotti
                                                  Title: Director




                        [Signature Page for Board to Written Consent]
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       IN WITNESS WHEREOF, the undersigned being the sole Member hereby consent to the
foregoing resolutions effective as of the date first written above.



                                                 GVS PORTFOLIO I, LLC,
                                                 A Delaware limited liability company




                                                 By: ________________________________
                                                      _________________
                                                 Name:
                                                    me: Natin Paul
                                                 Title: President




                       [Signature Page for Member to Written Consent]
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                                           EXHIBIT A

                                        RESOLUTIONS
1.     Chapter 11 Filing

        WHEREAS, each of (1) certain of the members of the Board of Directors (the “Board”)
of GVS Texas Holdings I, LLC, a Delaware limited liability company (the “Company”), and (2)
the sole member of the Company (the “Member,” and together with the Board, the “Approving
Parties”) have considered the advice and materials provided by (x) the Company’s management
(“Management”) on behalf of the Company and (y) the legal and financial advisors to the
Company (collectively, the “Advisors”) regarding the liabilities, liquidity situation, and prospects
of the Company and the potential effects of the foregoing on the Company’s business; and

       WHEREAS, in light of the advice and materials provided by Management and the
Advisors, the Approving Parties have determined that it is desirable and in the best interests of the
Company, its creditors, and other interested parties for the Company to file a voluntary petition
(the “Petition”) for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Northern District of Texas
(the “Bankruptcy Court”).

       NOW THEREFORE, IT IS HEREBY RESOLVED, that the Company shall be, and
hereby is, authorized and directed to: (1) file the Petition for relief under chapter 11 of the
Bankruptcy Code in the Bankruptcy Court, and (2) perform any and all such acts as are reasonable,
advisable, expedient, convenient, proper, or necessary to effect the foregoing.

                                           *   *       *   *




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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 In re:                                                     Chapter 11

 GVS TEXAS HOLDINGS I, LLC                                  Case No. [______]

                          Debtor.                           (Joint Administration Requested)



                          CORPORATE OWNERSHIP STATEMENT

          Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

following list identifies all corporations, other than a governmental unit, which directly or

indirectly own 10% or more of any class of equity interests in the above-captioned debtor and

debtor in possession:

                   Direct Owner                                   Indirect Owners

               GVS Portfolio I, LLC                           GVS Portfolio I B, LLC
                                                              GVS Portfolio I C, LLC
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 Fill in this information to identify the case and this filing:


              GVS Texas Holdings I, LLC
 Debtor Name __________________________________________________________________
                                         Northern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


                                                       List of Equity Security Holders
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    06/17/2021
        Executed on ______________                         8 /s/ Robert D. Albergotti
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Robert D. Albergotti
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Authorized Party
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
Case 21-31121-mvl11 Doc 1 Filed 06/17/21            Entered 06/17/21 07:11:18         Page 17 of 22




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 In re:                                                     Chapter 11

 GVS TEXAS HOLDINGS I, LLC                                  Case No. [______]

                          Debtor.                           (Joint Administration Requested)



                           LIST OF EQUITY SECURITY HOLDERS

          Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following is

a list of holders of equity securities of the above-captioned debtor and debtor in possession:

   Name and Last Known Address or
                                                 Kind of Interest        Percentage of Interest
     Place of Business of Holder
         GVS Portfolio I, LLC                      Membership                     100%
            /DYDFD6W
          Austin, TX 78701
         Case 21-31121-mvl11 Doc 1 Filed 06/17/21                                   Entered 06/17/21 07:11:18               Page 18 of 22

 Fill in this information to identify the case and this filing:


              GVS Texas Holdings I, LLC
 Debtor Name __________________________________________________________________
                                         Northern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


                                                       Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    06/17/2021
        Executed on ______________                         8 /s/ Robert D. Albergotti
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Robert D. Albergotti
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Authorized Party
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
             Case 21-31121-mvl11 Doc 1 Filed 06/17/21                             Entered 06/17/21 07:11:18                          Page 19 of 22


      Fill in this information to identify the case:

                   GVS Texas Holdings I, LLC, et al.
      Debtor name __________________________________________________________________
                                              Northern
      United States Bankruptcy Court for the: ______________________             Texas
                                                                     District of _________

      Case number (If known):   _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 
    Largest Unsecured Claims and Are Not Insiders                                                                                                           12/15

    A list of creditors holding the  largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if     Deduction for      Unsecured
                                                                                                                   partially           value of           claim
                                                                                                                   secured             collateral or
                                                                                                                                       setoff

1                                           PO Box 181140,
      Ohio Department of                                                      Sales taxes
                                            Columbus, OH                                           Disputed                                              $1,291,629
      Taxation                              43218-1140

2     Cupertino Builders, LLC 1159 Sonora Ct, Suite                          Trade
                                            202, Sunyvale, CA 94086                                                                                      $432,754.18


                                            8130 State Highway 150                                 Disputed,
3     Vision Builders                                                        Trade                 Contingent
                                            West, Coldspring, TX                                                                                         $287,975.84
                                            77331

4                                           124 E. Bandera, Suite Trade
      AllPro
                                            204, Boerne, TX 78006                                  Contingent                                           $190,238.21


5     West Texas Stone                      5206 Orsini Blfs, Round Trade
                                            Rock, TX 78665                                                                                               $186,543.19
      Solutions

6
      Alliance Tax Advisors                 433 E. Las Colinas Blvd,         Professional
                                            Suite 300, Irving, TX                                                                                        $136,328.53
                                            75039
                                                                             Services

7     Siegel Jennings Co.,                  23425 Commerce Park              Professional
                                            Dr, Suite 103, Cleveland,                                                                                    $132,530.37
      L.P.A.                                OH 44122
                                                                             Services

8     SpareFoot                             720 Brazos Street, Suite Trade
                                            300, Austin TX 78701                                                                                         $55,793.60




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims                                   page 1
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                  GVS Texas Holdings I, LLC, et al.
    Debtor       _______________________________________________________                       Case number   (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if     Deduction for      Unsecured
                                                                                                                partially           value of           claim
                                                                                                                secured             collateral or
                                                                                                                                    setoff

9     City of Houston Utility              PO Box 1560,                  Utilities
                                                                                                                                                     $43,701.89
      Bill - Water - 1560                  Houston, TX 77251

10    WASTE-MANAGERS,                      PO Box 847,                   Utilities
                                                                                                                                                     $35,065.33
      LLC                                  Corning, CA 96021

11    Holland Roofing Inc.                 7450 Industrial Road, Trade
                                           Florence, KY 41042                                                                                         $30,430.21


12    Mississippi Power                    PO Box 245, Birmingham,       Utilities
                                           AL 35201-0245                                                                                             $26,375.07


13    Pedernales Electric                  PO Box 1, Johnson             Utilities
                                                                                                                                                      $24,691.02
      Cooperative -PEC                     City, TX 78636

14    Penco Access Control                 4067 Hollister Street, Trade
                                                                                                                                                     $21,259.31
      LLC                                  Houston, TX 77080

15    Sibrian Landscaping                  5300 DeSoto Drive, Apt. Trade
                                           329, Houston, TX 77091                                                                                     $19,978

16    Brookstone             521 Sage Run Dr.,                           Trade
      Construction Group LLC Lebanon, OH 45036                                                   Disputed                                            $16,133.75


17                                         PO Box 60, Taylorsville, Utilties
      Southern Pine Electric
                                           MS 39168-0060                                                                                              $15,979.21
      Power Association

18
      SiteLink                             P.O. Box 19744,               Trade
                                                                                                                                                      $14,798.62
                                           Raleigh, NC 27619

19
      City of Dallas Water                 City Hall, 2D South,          Utilities
                                                                                                                                                     $14,274.60
      Utilities                            Dallas, TX 75277

20                                         121 Broadway, Suite 574,
     SAGE Storage                                                        Insurance
                                           San Diego, CA 92101                                                                                       $14,149.99
     Insurance Servicing



    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims                                   page 2
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                 GVS Texas Holdings I, LLC, et al.
 Debtor          _______________________________________________________                       Case number   (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if     Deduction for      Unsecured
                                                                                                                partially           value of           claim
                                                                                                                secured             collateral or
                                                                                                                                    setoff

   Bottini Fuel                          PO Box 1640,                  Trade
                                           Wappingers Falls, NY                                                                                       $13,953.22
                                           12590-8640

   Cardinal Landscaping                  1192 S. Nixon Camp Rd.,       Trade
                                           Oregonia, OH 45054                                   Disputed                                              $12,581.09


   HD Supply Facilities                  PO Box 509058, San   Trade
     Maintenance Ltd                       Diego, CA 92150-9058                                                                                       $12,118.43


   Prosperity Construction 100 Calumet Gardens,                        Trade
                             Ste 103, Madison, MS                                                                                                     $11,548.14
     LLC
                                           39110

   Ameren Illinois                       PO Box 88034,          Utilities
                                           Chicago, IL 60680-1034                                                                                     $11,330.12


   Youngstown Fence Inc. 235 E. Indianola Avenue, Trade
                                           Youngstown, OH 44507                                                                                      $10,110.31


   RMM Houston, LLC                      7450 Industrial Road, Trade
                                           Florence, KY 41042                                                                                         $9,680

   A&A Landscaping and                   27 Delano St,                 Trade
     Plowing, Inc                          Poughkeepsie, NY 12601                                                                                    $9,600

   Constellation                         P.O. Box 4640, Carol  Utilities
     NewEnergy, Inc                        Stream, IL 60197-4640                                                                                     $9,508.03


   All-Star Garage Door                  P.O. Box 1864, Olive Trade
     Services                              Branch, MS 38654                                                                                          $9,505




 Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims                                   page 
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 Fill in this information to identify the case and this filing:


              GVS Texas Holdings I, LLC
 Debtor Name __________________________________________________________________
                                         Northern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (&RQVROLGDWHG)


             Other document that requires a
              declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    06/16/2021
        Executed on ______________                         8 /s/ Bob Albergotti
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Bob Albergotti
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Authorized Party
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
